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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                     Plaintiff,             )
                                            )                    8:05CR94
       vs.                                  )
                                            )                     ORDER
JUAN GARCIA,                                )
                                            )
                                            )
                     Defendant.


        This matter is before the court on defendant's unopposed MOTION FOR EXTENSION
OF TIME FOR FILING PRETRIAL MOTIONS [168]. For good cause shown, I find that the motion
should be granted in part. The defendant will be given an approximate 30-day extension.
 Pretrial Motions shall be filed by March 24, 2006.

       IT IS ORDERED:

        1.    Defendant's MOTION FOR EXTENSION OF TIME FOR FILING PRETRIAL MOTIONS
[168] is granted. Pretrial motions shall be filed on or before March 24, 2006.

       2.     Defendant is ordered to file a waiver of speedy trial as soon as practicable.

       3.     The ends of justice have been served by granting such motion and
outweigh the interests of the public and the defendant in a speedy trial. The additional
time arising as a result of the granting of the motion, i.e., the time between February
22, 2006 and March 24, 2006, shall be deemed excludable time in any computation of
time under the requirement of the Speedy Trial Act for the reason defendant's counsel
required additional time to adequately prepare the case, taking into consideration due
diligence of counsel, and the novelty and complexity of this case. The failure to grant
additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).

       DATED this 23rd day of February, 2006.

                                          BY THE COURT:


                                          s/ F.A. Gossett
                                          United States Magistrate Judge
